
Pece, J.
[38] delivered the opinion of the Court. On the authority of a series of adjudged cases in this State, to which there has been no dissenting opinion so far as the cases have been examined or are recollected, the Court again determine that in all cases where a specified number or portion of justices of the peace are required to be present for any given purpose, the record should show that such number constituted the Court, otherwise any order or judgment of the Court will be void.
The case before the Court was an appropriation of public money to the use of an individual; and is one of those cases where, by statutory provision, a specified number of justices are required to be upon the bench. That a competent number were present is not shown by the record ; the order is therefore a nullity. It was void without the rescinding order, which, supposing it could bo made at a subsequent term, was wholly useless.
We do not decide whether the County Court have the power to make appropriations of public money, independently of any authority given in express terms by the Legislature, for books and stationery furnished by a clerk for the use of the Court, and which may be necessary to enable him to perform his official duties ; that question is not raised by the record.
Judgment affirmed.
